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                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW MEXICO

                                               Clerk's Minutes
                                   Before the Honorable James O. Browning


CASE NO.           19-CR-77-JB                     DATE: January 15, 2020

TITLE:               USA v Nissen

COURTROOM CLERK: J. Wright                         COURT REPORTER: J. Bean

COURT IN SESSION: 9:10AM-9:59AM                    TOTAL TIME: 49 MINUTES

TYPE OF PROCEEDING:               MOTION TO WITHDRAW AS COUNSEL [DOC. 100]
                                  MOTION FOR DISCOVERY [DOC. 98]

COURT RULING:                MOTION TO WITHDRAW AS COUNSEL [DOC. 100]-GRANTED
                             MOTION FOR DISCOVERY [DOC. 98] – WILL BE RESET

ATTORNEYS PRESENT FOR PLAINTIFF(S):                ATTORNEYS PRESENT FOR DEFENDANT(S):
 Susan Porter                                       Paul Mysliwiec


PROCEEDINGS:

9:10AM        COURT IN SESSION; COUNSEL ENTER APPEARANCES; DEFENDANT APPEARS IN CUSTODY.

9:11AM        GOVERNMENT IS READY TO PROCEED TO SENTENCING AND DISCUSS HIS OBJECTIONS TO

              PSR.

9:12AM        MS PORTER HAS MADE AN EFFORT TO DISCUSS THE PSR AND OBJECTIONS WITH

              DEFENDANT BUT DEFENDANT HAS REFUSED TO MEET WITH ATTORNEY. MS. PORTER

              BELIEVES SHE AND THE DEFENDANT ARE AT AN IMPASSE.

9:20AM        COURT ASKS IF GOVERNMENT SHOULD BE REMOVED; DEFENDANT STATES IT IS OKAY

              WITH HIM TO HAVE THE GOVERNMENT PRESENT. DEFENDANT’S SISTER, KIMBERLY

              NISSEN, ADDRESSES THE COURT WITH HER CONCERNS REGARDING WHAT SHE BELIEVES

              WAS INEFFECTIVE ASSISTANCE OF COUNSEL AT TRIAL. SHE ALSO BELIEVES MS. PORTER




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              HAS NOT MADE EFFORTS TO HELP HER BROTHER.

9:26AM        COURT DESCRIBES THE APPEAL PROCESS AND INEFFECTIVE ASSISTANCE OF COUNSEL

              AND THE JUDGMENT TO DEFENDANT AND HIS SISTER. COURT EXPLAINS EVERYONE MUST

              WORK TOGETHER TO CONCLUDE THE CASE SO THAT DEFENDANT CAN APPEAL .

9:29AM        SISTER CONTINUES TO VOICE HER FRUSTRATION. DEFENDANT STATES HE IS CURRENTLY

              IN PROTECTIVE CUSTODY.

9:33AM        COURT ASKS MR. NISSEN TO DISCUSS HIS POSITION ON CHANGE OF COUNSEL.

9:34AM        DEFENDANT STATES HIS POSITION; HE STATES HE HASN’T REFUSED TO SEE MS. PORTER.

              HE STATES HE TRIED TO DISCUSS WITH MS. PORTER REGARDING HIS FILING OF MOTIONS

              AND THE SENTENCING MEMORANDUM.

9:43AM        DEFENDANT WANTS HIS MOTIONS FILED. DEFENDANT STATES HE CANNOT WORK WITH

              MS. PORTER.

9:44AM        MS. PORTER DISCUSSES HER POSITION, STATING THAT THE DEFENDANT HAD CHOSEN NOT

              TO MEET WITH MS. PORTER.

9:6AM         GOVERNMENT DOES NOT BELIEVE THAT MS. PORTER AND DEFENDANT CAN GET ALONG;

              HE STATES HE BELIEVES THAT MS. NISSEN HAS REPRESENTED THE FACTS AS SHE

              UNDERSTANDS THEM AND THAT MS. PORTER IS DOING THE SAME. GOVERNMENT BELIEVES

              THAT MR. NISSEN AND HIS SISTER DO NOT ACTUALLY UNDERSTAND MS. PORTER NOT

              FILING CONSTITUTIONAL THEORIES.

9:50AM        COURT GRANTS MOTION TO WITHDRAW AS COUNSEL.

9:54AM        COURT DISCUSSES APPOINTMENT OF NEW COUNSEL.

9:59AM        COUNSEL HAVE NOTHING FURTHER; COURT STANDS IN RECESS.




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